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      4016 East Forest Pleasant Place
2     Cave Creek, Arizona 85331
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3     Facsimile: (480) 575-6661
      E-mail: gddelozier@aol.com
4
      G. David DeLozier
5     State Bar of Arizona No. 005237
      Attorney for Mother of John Doe XXIII
6
                        IN THE UNITED STATES BANKRUPTCY COURT
7

8                               FOR THE DISTRICT OF ARIZONA

9     THE ROMAN CATHOLIC CHURCH OF ) Bankruptcy No. 4-04-04721-JMM
      THE DIOCESE OF TUCSON, aka THE       )
10    ROMAN CATHOLIC CHURCH DIOCESE )        Chapter 11
      OF TUCSON, aka THE DIOCESE OF        )
11    TUCSON, an Arizona corporation sole, )   NOTICE OF APPEARANCE FOR
                                           )  MOTHER OF JOHN DOE XXIII and
12                                         )  REQUEST FOR SPECIAL NOTICE
                            Debtor.        )
13                                         )
                                           )
14

15          TO: CLERK OF THE BANKRUPTCY COURT AND ALL PARTIES-IN-INTEREST
16          NOTICE IS HEREBY GIVEN of the appearance of G. David DeLozier, the law
17
       firm of G. DAVID DELOZIER, P.C., 4016 East Forest Pleasant Place, Cave Creek,
18
       Arizona 85331, on behalf of the Mother of John Doe XXIII, Claimant herein, whose
19
       son, John Doe XXIII, has a case pending in the Maricopa County Superior Court,
20

21     JOHN DOE XXIII, Plaintiff, v. THE ROMAN CATHOLIC CHURCH OF THE DIOCESE

22     OF TUCSON, a Corporation Sole, by and through Bishops Manual Moreno and Gerald
23     Kicanas, their Predecessors and Successors; BISHOP MANUAL MORENO, a single
24
       man; COADJUTOR BISHOP GERALD F. KICANAS, a single man; THE ROMAN
25
       CATHOLIC CHURCH OF THE DIOCESE OF PHOENIX, a Corporation Sole, by and
26
       through Bishop Thomas J. Olmsted, his Predecessors and Successors; BISHOP
27

28     THOMAS O’BRIEN, a single man; and, ST. GREGORY’S CHURCH AND PARISH,


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1      Defendants, CV2004-007827, one of which is the Debtor in the above-referenced
2      bankruptcy case, and requests that the name and address set forth below be added to
3
       the master mailing list in this case.
4

5            CLAIMANT, pursuant to Bankruptcy Rule 2002, requests that a copy of all notices

6     to creditors, equity security holders, lessors, creditor’s committees, or equity security

7     holders’ committees, whether sent by the Court, the Debtor, or any other party in this

8     case, also be sent to the address set forth below:

9
                           G. David DeLozier, Esquire
10                         LAW OFFICES OF G. DAVID DELOZIER, P.C.
                           4016 E. Forest Pleasant Place
11
                           Cave Creek, Arizona 85331
12                         E-mail: gddelozier@aol.com

13

14           DATED this      13th day of March, 2005.

15
                                                G. DAVID DELOZIER, P.C.
16

17

18
                                                   /s/ G. David DeLozier____
19                                              G. David DeLozier
                                                Attorney for Claimant
20
                                                John Doe XXIII
21

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1     Original electronically filed with the Clerk of the Court
      and a true and correct copy of the foregoing
2     Notice of Appearance and Request for Special Notice
      was served on the persons shown on the attached list by
3     U.S. Mail, first class postage prepaid at Phoenix, Arizona
      this 13th day of March, 2005, by ___/s/ G. David DeLozier_
4

5                                   SERVICE LIST
               THE ROMAN CATHOLIC CHURCH OF THE DIOCESE OF TUCSON
6                          Chapter 11 Case No 4-04-04721-JMM

7     Gerard R. O’Meara               Tom Zlaket                   C. Taylor Ashworth and Alisa
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      of Tucson                       tazlaket@qwest.net           rmcgee@stinsonmoheck.com
10                                    Attorneys for the            Attorneys for Plaintiffs
                                      Diocese of Tucson            Attorneys for Official
                                                                   Creditors’ Committee of Tort
11                                                                 Creditors
      Lynne Cadigan                   Lowell E. Rothschild         Rob Charles
12    Kim E. Williamson               Michael McGrath              Lewis and Roca LLP
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                                      Catholic Parishes
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      XXIII                           nmarch@dmyl.com              Michael.pompeo@dbr.com
                                      Attorneys for St. Paul       Attorneys for St. Paul
24                                    Travelers                    Travelers

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1
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5     Associates as Agent for Certain                                     Orange (California)
      Creditors
6     Christopher J. Pattock             Marjorie Fisher Cunningham       Michael Zimmer
      Office of the U.S. Trustee         Curtis & Cunningham
                                                   nd
                                                                          Zalkin & Zimmer LLP
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                                         Guardian Ad Litem                Tucson, AZ 85701
                                                                          cbaltfeld@lfagb.com
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                                         Padua School                     Representative
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22    Meta and Phillip Hower (CV02-                                       Suite 1700
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                                                                          knye@quarles.com
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      Catholic High School
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1     And
      Copies of the foregoing served:
2     Via U.S. Mail this __13th__ day
      of _March_____, 2005, upon:
3

4     First Catholic Slovak   Terri Thiessen           Belen Alderete
      Ladies                  3781 W. Golfcourse Rd.   215 N. West Moreland
      24950 Chagrin Blvd.     Thatcher, AZ 85446       Tucson, AZ 85745
5     Beachwood, OH 44122
      Thomas Groom            Michael Moylan           Jeanne Metzger
6     1700 Tortuga Way        1724 W. Pineriver        8743 E. Rose Lane
      Clarkdale, AZ 86324     Place                    Scottsdale, AZ 85250
7     Official Creditors      Tucson, AZ 85746         Official Creditors
      Committee of Tort       Official Creditors       Committee of Tort
      Creditors               Committee of Tort        Creditors
8                             Creditors
      Diana Holmes            Brian O’Connor           Confidential Claimant
9     P. O. Box 1305          3704 S. Marvin           #86662
      Sonoita, AZ 85637       Tucson, AZ 85730         ASPC-Morey Blue 2-D-16
      Official Creditors      Official Creditors       P.O. Box 3300
10    Committee of Tort       Committee of Tort        Buckeye, AZ 85326
      Creditors               Creditors
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